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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

    UNITED STATES OF AMERICA                      :       CASE NO. 1:20-CR-77
                                                  :
                                                  :       JUDGE TIMOTHY BLACK
                 v.                               :
                                                  :       MOTION IN LIMINE TO PRECLUDE
                                                  :       ARGUMENT AND EVIDENCE
    LARRY HOUSEHOLDER, et al.,                    :       SUPPORTING JURY
                                                  :       NULLIFICATION
             Defendants.                          :
                                                  :


          The United States respectfully requests that the Court preclude the defendants from

arguing, presenting evidence, or pursuing lines of inquiry designed to elicit or has the effect of

supporting jury nullification. This preclusion should apply to both defense counsel, in terms of

arguments, questioning, and statements in front of the jury, and to the defendants, should they

choose to testify.1

                                          BACKGROUND

          The law is clear. No one may encourage the jury to nullify either the law or the facts.

United States v. Sepulveda, 15 F.3d 1161, 1190 (1st Cir. 1993); United States v. Perez, 86 F.3d

735, 736 (7th Cir. 1996) (“the defendant has no right to invite the jury to act lawlessly. Jury

nullification is a fact, because the government cannot appeal an acquittal; it is not a right, either of

the jury or of the defendant.”). Instead, jurors should “be told that it is their duty to accept and

apply the law as given to them by the court.” Sixth Circuit Pattern Instruction 1.02, Commentary;

see United States v. Krzyske, 836 F.2d 1013, 1021 (6th Cir. 1988). Accordingly, a trial court “may

block defense attorneys’ attempts to serenade a jury with the siren song of nullification.”



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    This motion refers to both defense counsel and defendants collectively as “the defendants.”

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Sepulveda, 15 F.3d at 1190 (1st Cir. 1993). This includes prohibiting evidence or arguments that

do not support a legal defense to the charges, but rather would encourage the jury to decide the

case inconsistent with the Court’s instructions.

        Although it is difficult to anticipate each form of possible jury nullification argument or

evidence that the defendants may seek to inject in his trial, the filings thus far and Defendant

Borges’ media campaign suggest they may present argument and/or evidence amounting to (1)

selective prosecution, (2) “this is how fundraising works,” (3) ignorance of the law, (4) a First

Amendment affirmative defense, and (5) unrelated noncorrupt or good acts. The Court should

preclude the defendants from making each of these arguments or eliciting evidence about them.

As explained below, because they are either improper or irrelevant to the jury’s task, raising them

at trial urges the jury to ignore the Court’s instructions regarding the elements of the offense and

decide this case on an improper basis.

A.      Selective prosecution allegations are made to the Court, not to the jury.

        The Court should preclude the defendants from making arguments or eliciting testimony

that challenge the institution of prosecution, such as selective prosecution or the motivations

behind the investigation. These are legal questions decided by the Court, not the jury.

        A review of the defendants’ previous filings, public comments, various interviews and

website postings, indicates that the defendants may attempt to question the motivation of the

prosecution or contend that they were unfairly prosecuted.2 For example, the defendants may


2
  See, e.g., (Borges’ Motion to Strike, Doc. 104, PageID 1748 (“The Government’s attempt to
expand § 1346 through a novel theory using the amorphous term ‘inside information’ must fail.
It violates the concept of fair notice and exemplifies arbitrary prosecution”)); Householder’s
Opposition to Motion to Exclude, Doc. 133, PageID 3736 (“The Supreme Court has time and
again admonished federal prosecutors for using broadly written federal laws to ‘set standards of
disclosure and good government for local and state officials.’”);
https://www.cleveland.com/news/2022/06/matt-borges-says-house-bill-6-bribery-case-is-a-
political-attack-because-of-opposition-to-donald-trump.html (June 21, 2022);

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attempt to argue before the jury that others engaged in similar conduct were not charged, or were

charged with different crimes; or they may try to question law enforcement agents about charging

decisions, the timing of such decisions, or suggest the prosecution was politically motivated. To

support these arguments, the defendants may offer evidence affirmatively, such as through their

own testimony or through expert testimony; or they may try to make such arguments through cross

examination, by asking witnesses about, for example, the conduct of other public officials, the

witness’s familiarity with news stories or other cases, different charges, charging decisions or

asking the witness to compare the charges in various cases; or they may reference these topics in

opening statements, during the defendant’s own testimony, or in closing arguments.3 The Court

should preclude all of this – because it amounts to allegations of selective prosecution that are

improper for a jury to consider.

        First, a selective prosecution allegation is not a defense to the merits of the criminal charge;

rather, it is “an independent assertion that the prosecutor has brought the charge for reasons

forbidden by the Constitution.” United States v. Armstrong, 517 U.S. 456, 463 (1996). In other

words, a selective prosecution claim is completely irrelevant to the issue of the guilt or innocence

of the defendant. Instead, it asks a court to “exercise judicial power over a special province of the

Executive” – that is, the Attorney General and United States Attorneys, who are designated as the

President’s delegates to enforce federal criminal laws. Id. at 464 (internal quotations omitted)

(quoting U.S. Const., Art. II, § 3; citing 28 U.S.C. §§ 516, 547). As a result, the Supreme Court



https://www.13abc.com/2021/06/15/this-is-all-purely-political-former-ohio-house-speaker-
address-lawmakers-mulling-his-ouster/
3
  Lines of questioning about charging are particularly misleading because prosecutors make
charging decisions in federal court, not agents, and these questions improperly make prosecutors
facts witnesses before the jury. See United States v. Allen, 954 F.2d 1160, 1166 (6th Cir. 1992)
(the defendant’s argument misconceives the role officers play in charging decisions).

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has instructed that “the presumption of regularity supports their prosecutorial decisions, and in the

absence of clear evidence to the contrary, courts presume that they have properly discharged their

official duties.” Id. (internal quotations omitted) (quoting United States v. Chemical Foundation,

Inc., 272 U.S. 1, 14-15 (1926)).4

        Second, because selective prosecution is a legal defense based on an alleged defect in the

institution of prosecution, it must be raised prior to trial. Fed. R. Crim. P. 12(b)(3). Courts have

consistently held that defenses based on selective prosecution or government misconduct are to be

decided by the Court prior to trial and not by the jury. See United States v. Abboud, 438 F.3d 554,

579 (6th Cir. 2006) (“the defense of selective prosecution is a matter that is independent of a

defendant’s guilty or innocence, so it is not a matter for the jury”); United States v. Regan, 103

F.3d 1072, 1082 (2d Cir.1997) (“Because it involves a ‘defect in the institution of the prosecution,’

the selective prosecution defense is an issue for the court rather than the jury.”); United States v.

Jones, 52 F.3d 924, 927 (11th Cir.), cert. denied, 516 U.S. 902 (1995); United States v.

Washington, 705 F.2d 489, 495 (D.C. Cir. 1983) (per curiam) (finding issues subject to Fed. R.

Crim. P. 12 are matters for the Court, not the jury); United States v. Brimite, 102 F. App’x 952,

955 (6th Cir. 2004) (defendant was required to raise selective prosecution allegation before trial).

        Accordingly, district courts have excluded at trial evidence and arguments alleging

selective prosecution and other defects in the institution of prosecution, and these decisions have

been upheld on appeal. For example, in Abboud, the district court granted a motion in limine to



4
  This judicial deference is in part based on “an assessment of the relative competence of
prosecutors and courts,” and in part, based on a concern of “unnecessarily impairing a core
executive constitutional function.” Id. at 465. For example, in terms of the former, the Supreme
Court has explained that courts are not equipped to evaluate “the prosecution’s general deterrence
value, the Government’s enforcement priorities, and the case’s relationship to Government’s
overall enforcement plan.” Id. In recognition of these principles, the standard necessary to prove
a selective prosecution claim is “a demanding one.” Id. at 465.

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preclude evidence of selective prosecution at trial. Abboud, 438 F.3d at 580. The Sixth Circuit

upheld the district court’s exclusion of the evidence, explaining that “selective prosecution is not

an issue for the jury.” Abboud, 483 F.3d at 580; United States v. Darwich, 574 F. App’x 582, 589

(6th Cir. 2014) (same; relying on Abboud); see also United States v. Simpson, 226 F. App’x 556,

562 (6th Cir. 2007) (citing Abboud, concluding district court was correct to prohibit prosecutorial

vindictiveness theory at trial).

        Even when not specifically styled as selective prosecution, “courts have consistently

excluded evidence and argument by defendants seeking to attack the prosecution’s motives in

initiating prosecution.” United States v. Morris, 2021 WL 4228883, *6 (E.D. KY 2021) (internal

quotations omitted; quoting United States v. Cleveland, No. 96-cr-207, 1997 WL 253124, at *2

(E.D. La. May 14, 1997) (collecting cases)); see also United States v. Bryant, 5 F.3d 474, 475–76

(10th Cir. 1993) (upholding district court’s prohibition of cross-examination as to how defendant

came to be charged in federal court); United States v. Fieger, 2008 WL 996401, *1-*3 (E.D. Mich.

Apr. 8, 2008) (granting motion in limine to preclude the defendant from raising evidence or

argument concerning improper prosecution at trial, including cross-examination of agents about

matters of prosecutorial discretion); cf. United States v. Johnson, 605 F.2d 1025, 1030 (7th Cir.

1979) (the potential political purposes underlying an investigation and/or indictment are

“extraneous and collateral matters” unrelated to the alleged crimes.) As the court in Morris

explained, “[s]uch arguments and evidence are not relevant to the jury’s task, and even if they

were, their probative value would be substantially outweighed by the risk of unfair prejudice and

confusion of the issues at trial.” Id. (granting motion in limine and excluding evidence and

arguments related to DOJ’s prosecutorial policy and motives).          In addition, permitting the

introduction of such evidence risks substantially lengthening the trial by creating mini-trials on




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collateral matters unrelated to the defendants’ guilt or innocence.

       The defendants cannot overcome these limitations by merely claiming such argument or

evidence is relevant to a witness’s bias and credibility. Indeed, in Abboud, the Sixth Circuit

specifically cautioned that a defendant cannot make selective prosecution arguments relevant at

trial by merely claiming exclusion of these arguments limits his ability to conduct cross-

examination into bias and credibility. Doing so, “conflate[s] the concepts of witness bias and

selection prosecution.” Abboud, 438 F.3d at 580. “Witness bias speaks to the reliability of the

witness,” and exposing a witness’s bias or prejudice calls into question the credibility of that

particular witness. Id. (internal quotations omitted) (citing Delaware v. Van Arsdall, 475 U.S. 673,

680 (1986)). Whereas “[s]elective prosecution is a separate and distinct claim that the defendant

has been unconstitutionally selected for prosecution.” Id.

       To date, neither defendant has filed a selective prosecution claim under Federal Rule of

Criminal Procedure 12. Such a motion, however, is the only proper way to litigate allegations of

selective prosecution or otherwise challenge the institution of prosecution. Attempting to make

these arguments in front of the jury, in any form, should be barred by the Court.

B.     Evidence that “this is how fundraising works” or “everyone does it” is improper and
       irrelevant.

       A variation of a selective prosecution argument – which is equally improper at trial – is

premised on the theory that the defendants’ actions were similar to others because “this is how

fundraising works” or “everyone does it this way” or this conduct is “commonplace.” In other

words, presenting evidence that others have engaged in “x” conduct and have not been prosecuted,

the implication being the defendants’ conduct must be legal and this prosecution is unfair. At best

such evidence is irrelevant, at worst it encourages jury nullification for selective prosecution.




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        Defendant Householder has alluded to these arguments in his expert disclosures and the

United States has moved to exclude portions of Caleb Burns’ testimony about what is

“commonplace.”5 (Doc. 129 at PageID 3586-88 (motion); Doc 135 at PageID 3745-46 (reply).)

As the United States argued in its Daubert motion and reply, what others did on different occasions

is completely irrelevant. Rather than repeating those arguments and caselaw, the United States

incorporates them here.

         The Court should preclude the defendants from making such arguments or eliciting such

evidence through experts – or otherwise – because they necessarily implicate evidence and

argument related to politics, politicians, and/or activities not relevant to the instant charges. They

further urge the jury to reject the Court’s instructions as to the elements of the offense and

independently determine what constitutes a criminal act based on a witness’s assessment or

comparison of unrelated people and events. (See Doc 135 at PageID 3745-46.) However, this is

precisely what Defendant Householder plans to do through Burns’ testimony. (Doc. 133, PageID

3736 (“The jury should therefore learn what is permissible—what is ordinary—in order to judge

whether Householder’s (and the other defendants’) actions amounted to ‘something more’ to turn

ordinary campaign actions into a crime.”).) The Court should preclude such arguments by the

defendants, in whatever form they take. See United States v. Mazumder, 800 F. App’x 392, 395–

96 (6th Cir. 2020) (“Expert testimony on the law is excluded because the trial judge does not need

the judgment of witnesses.”).




5
 Defendant Householder’s disclosure indicated that “ Mr. Burns will explain how officeholders
can be aligned with 501(c)(4) organizations . . . . Mr. Burns will provide examples including: One
Nation which is aligned with U.S. Senate Minority Leader Mitch McConnell, and Majority
Forward which is aligned with U.S. Senate Leader Chuck Schumer.” (Doc. 129, Exhibit A,
PageID 3593-94.)

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C.     Ignorance of the law is not a defense.

       Defendant Householder’s expert disclosure and his response to the United States’ motion

to exclude portions of his expert’s testimony suggest he may try to claim some form of a “mistake

of law defense.” (E.g., Doc. 133 at PageID 3738-39 (“True, none of the defendants had or operated

a federal leadership PAC during the time period at issue in the Indictment. But testimony about

leadership PACs is relevant to how Generation Now was used during the 2018 election cycle. . . .

. Generation Now functioned as a kind of leadership PAC.” ).) Attempting to present this

inapplicable defense is not uncommon in public corruption prosecutions. See, e.g., United States

v. Blagojevich, 794 F.3d 729, 738-39 (7th Cir. 2015). However, that defense is unavailable to the

defendants and the Court should preclude them from offering any argument or evidence related to

it.

       “The general rule that ignorance of the law or a mistake of law is no defense to criminal

prosecution is deeply rooted in the American legal system.” Cheek v. United States, 498 U.S. 192,

199 (1991). “The Supreme Court has recognized an exception to this rule only when ‘highly

technical statutes,’ such as tax or banking statutes, require a ‘willful’ violation of the law.” United

States v. Trevino, 7 F.4th 414, 424 (6th Cir. 2021) (internal quotations and citations omitted).

Notably, the RICO conspiracy charged and the predicate offenses underlying the conspiracy do

not fall into that category because they do not require the jury to find a “willful” violation of the

law. See, e.g., Id. at 428-29 (upholding a district court’s grant of motion in limine to preclude a

mistake of law defense in conspiracy case); Blagojevich, 794 F.3d at 738-39 (holding “mistake of

law” is no defense to Hobbs Act bribery or federal bribery statute); United States v. Lindberg, 476

F. Supp. 3d 240, 276-77 (W.D.N.C. 2020) rev’d on other grounds, 39 F.4th 151 (4th Cir. 2022)

(explaining “mistake of law is not a defense to either of the [bribery] offenses at hand, lest our




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democratic institutions would fall to corruption under cries of ignorance” and citing cases); United

States v. Sittenfeld, No. 1:20-CR-142, 2022 WL 2192955, at *6 (S.D. Ohio June 17, 2022)

(granting government motion in limine to “not allow [the defendant] to argue or offer evidence in

support of a mistake of law or ignorance of the law defense.”). Given that mistake of law is not a

valid defense to the Indictment, the government respectfully requests that the Court preclude the

defendants from arguing such.

D.      The First Amendment is not a defense; its protections are incorporated into the
        Court’s instructions to the jury.

        Defendant Householder’s response to the United States’ motion to exclude portions of

Caleb Burns’ testimony began with the following quote: “Money in politics may at times seem

repugnant to some, but so too does much of what the First Amendment vigorously protects.

McCutcheon v. FEC, 572 U.S. 185, 191 (2014).” (Doc. 133, PageID 3730). While not entirely

clear at this point, the quote suggests the defendants may be planning to use the First Amendment

as a shield at trial.6 However, caselaw is clear – the First Amendment is not a defense to a

racketeering conspiracy or bribery predicate acts underlying it. “[T]here is a very real line between

legitimate solicitation and bribery” and “[i]t is the role of our public corruption statutes to police

that line.” United States v. Sittenfeld, 522 F.Supp.3d 363, 368-69 (S.D. Ohio 2021) (denying

defendant’s motion to dismiss bribery charges); see also United States v. Williams, 553 U.S. 285,

297 (2008) (corrupt agreements do not enjoy First Amendment protection: “Offers to engage in

illegal transactions are categorically excluded from First Amendment protection.”); United States

v. Halloran, 821 F.3d 321, 340 (2d Cir. 2016) (“[Citizens United] did not hold that the First



6
 See also https://www.dispatch.com/story/news/politics/2021/07/23/house-bill-6-what-you-need-
know-firstenergy-agreement/8066999002/ (citing statement released by attorneys on behalf of
Householder that his action was protected by the First Amendment in response to Deferred
Prosecution Agreement signed by FirstEnergy Corp.).

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Amendment protects bribery—to the contrary, the Court explicitly discussed the government’s

interest in preventing ‘quid pro quo corruption’ or the appearance thereof.”).

       Thus, while the First Amendment limits public corruption cases involving campaign

contributions, those limitations constitute a legal issue for the Court – not a factual question for

the jury – and those limitations are accounted for in the Court’s instructions to the jury. See

McCormick v. United States, 500 U.S. 257, 273 (1991); Evans v. United States, 504 U.S. 255, 258,

268 (1992); see also United States v. Terry, 707 F.3d 607, 613 (6th Cir. 2013) (affirming jury

verdict in campaign contribution bribery case because “‘[m]otives and consequences, not

formalities,’ are the keys for determining whether a public official entered an agreement to accept

a bribe, and the trier of fact is ‘quite capable of deciding the intent with which words were spoken

or actions taken as well as the reasonable construction given to them by the official and the

payor.’”) (quoting Evans, 504 U.S. at 274; citing McCormick, 500 U.S. at 270). The defendant

should not be permitted to confuse or mislead the jury by arguing that the First Amendment

provides an additional defense, additional protection, or is somehow a consideration the jury must

account for in rendering its verdict – separate and apart from the Court’s instructions. Such

argument is contrary to law and invites jury nullification by imploring the jurors to ignore the

Court’s instructions and conduct their own First Amendment analysis.

E.     “Good Acts” evidence is irrelevant and inadmissible.

       As illustrated by the cases cited below, a common tactic in corruption trials involves

defendants attempting to introduce evidence about non-corrupt conduct or good acts on other

occasions. For example, a politician may attempt to demonstrate that he sometimes interacted

with potential political contributors and solicited contributions without offering anything in return.

Evidence of other non-corrupt conduct is sometimes affirmatively offered during the defense case,




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but often takes the form of questions posed during cross-examination, such as: (a) “Isn’t it true the

defendant did not do anything improper on this occasion?”; (b) “Isn’t it true that defendant always

treated you with respect?”; (c) “Isn’t it true that defendant assisted when you hadn’t contributed to

his campaign?”; (d) “Isn’t it true that defendant sponsored x legislation, which is good for

Ohioans?”; (e) “Isn’t it true the defendant never asked you for a campaign contribution?”; and (f)

“Isn’t it true that the defendant took action that was in the public’s interest?” As explained below,

because such evidence is irrelevant and inadmissible, this type of evidence can only encourage the

jurors to decide this case on an improper basis.

       In the context of bribery and corruption cases, courts have consistently excluded as

irrelevant evidence of specific acts of noncorrupt conduct. In other words, evidence that a

defendant performed a good act on some other occasion, is irrelevant to whether the defendant

entered a bribery agreement on another occasion. See United States v. Dimora, 750 F.3d 619, 630

(6th Cir. 2014) (affirming exclusion of evidence that defendant “did favors for people who did not

pay him bribes” as irrelevant to the bribery charges at issue); United States v. Dawkins, 999 F.3d

767, 792–93 (2d Cir. 2021) (district court properly excluded defense evidence indicating the

defendant did not attempt to bribe others); United States v. Chambers, 800 F. App’x 43, 46 (2d

Cir. 2020) (affirming exclusion of evidence that defendant ran “legitimate law practice” to show

he was less likely to have corrupt intent to bribe); United States v. Fattah, 914 F.3d 112, 175–76

(3d Cir. 2019) (upholding district court’s exclusion of non-bribery payments in bribery trial);

United States v. Troutman, 814 F.2d 1428, 1454 (10th Cir. 1987) (where defendant was charged

with soliciting political contributions from specific financial institution in exchange for state

business, trial court did not abuse discretion in excluding as irrelevant evidence of defendant’s

conduct toward other firms from whom he did not solicit contributions in exchange for business);




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United States v. Burke, 781 F.2d 1234, 1243 (7th Cir. 1985) (where private investigator on trial

for extorting clients argued that he intended to report clients to FBI, court upheld exclusion of

evidence of prior good act, stating “[e]vidence that the defendant frequently performs lawful or

laudable acts does not often establish that some subsequent act is also lawful or laudable”); United

States v. O’Connor, 580 F.2d 38, 43 (2d Cir. 1978) (in bribery case, inappropriate to permit

testimony that charged inspector honestly performed his duties in specific instances and did not

receive bribes);7; see also Fed. R. Evid. 405(a) (character evidence admissible only through

reputation or opinion testimony).

         Moreover, courts have precluded defendants from introducing specific acts of good

conduct where the defendants are simply arguing a “lack of motive or intent” in cases outside the

public corruption orbit. United States v. Marrero, 904 F.2d 251, 260 (5th Cir. 1990). In Marrero,

a case arising from a prosecution of false insurance claims, the defendant “sought to prove that her

good character was inconsistent with criminal intent by introducing evidence of specific acts of

good character.” 904 F.2d at 259. The Fifth Circuit affirmed the exclusion of the good-acts

evidence, observing that the defendant’s “character in [the] case was simply not an essential

element of the charges against her,” and that the defendant’s tactic of trying to “use specific acts

circumstantially to prove lack of intent” was “not only disfavored, [but was] not permitted under

Rule 405(b).” Id. at 260; see also United States v. Grimm, 568 F.2d 1136, 1138 (5th Cir. 1978)

(“Evidence of noncriminal conduct to negate the inference of criminal conduct is generally

irrelevant.”); United States v. Ellisor, 522 F.3d 1255, 1270 (11th Cir. 2008) (observing that


7
  Conversely, courts have found prior corrupt acts are admissible as relevant to the defendant’s
intent in bribery cases. See, e.g., United States v. Harrold, 1989 WL 34821, at *2, 872 F.2d 1029
(6th Cir. 1989) (table); United States v. Reichberg, 5 F.4th 233, 241–42 (2d Cir. 2021); United
States v. Repak, 852 F.3d 230, 241–46 (3d Cir. 2017); United States v. McNair, 605 F.3d 1152,
1203–04 (11th Cir. 2010).



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“evidence of good conduct is not admissible to negate criminal intent”) (internal quotation marks

omitted); United States v. Hill, 40 F.3d 164, 168-69 (7th Cir. 1994) (upholding exclusion of

defendant’s failure to steal “test” letters to negate intent in embezzlement case).

        Because evidence of other good acts is irrelevant and inadmissible here, the Court should

exclude it from trial.

                                          CONCLUSION

        For the reasons outlined, this Court should grant the motion to preclude the defendants

from arguing, presenting evidence, or pursuing lines of inquiry designed to elicit jury nullification.

                                                      Respectfully submitted,

                                                      KENNETH L. PARKER
                                                      United States Attorney

                                                      /s/_Emily N. Glatfelter____________
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                                  CERTIFICATE OF SERVICE

   I hereby certify that a copy of the foregoing Motion in Limine was filed electronically this 9th
day of November, 2022, and served upon all counsel of record via the Court’s CM/ECF system.

                                             s/Emily N. Glatfelter
                                             EMILY N. GLATFELTER (0075576)
                                             Assistant United States Attorney




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